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                    EXHIBIT 2
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          Date: October 16, 2019 at 23:16:08 EDT
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          Subject: Sines v. Kessler, Case No. 17 Civ. 72

   Dear Judge Hoppe,



       In anticipation of the Court conference scheduled for this Friday, we write to update the
   Court on the parties’ progress in discovery. In short, despite Plaintiffs’ persistent inquiries and
   multiple Court orders, Defendants individually and collectively have a long way to go to achieve
   anything close to full compliance with their discovery obligations. Although Plaintiffs have
   finally received partial production from certain Defendants since Plaintiffs requested this
   conference on September 17, not a single Defendant has provided all outstanding electronic
   devices and account credentials that contain relevant content to the third-party vendor, let alone
   reviewed and produced the documents contained within those accounts and devices, and some
   Defendants still have not produced a single document. We outline below each Defendants’
   document discovery deficiencies. Additionally, we briefly address the pending motions, which
   we hope to discuss on Friday as well.



   Defendant Document Discovery



      The following details the status of each Defendant’s document production:
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   Elliot Kline – As discussed in Plaintiffs’ pending motion for sanctions, Defendant Kline has not
       produced a single document to Plaintiffs. Indeed, Defendant Kline has not provided access
       to a single electronic device or account credential to the third-party vendor.



   Vanguard America – Vanguard America has not produced a single document to
      Plaintiffs. During Dillon Hopper’s court-ordered deposition in August, Plaintiffs learned
      about various social media accounts and devices that had not been previously disclosed,
      including Mr. Hopper’s Gab account. See Hopper Depo. Tr., 107-108. While Mr. Hopper
      subsequently disclosed certain social media accounts to the third-party vendor, he failed to
      provide accurate account credentials to the vendor, making it impossible for many of his
      social media accounts to be imaged. Mr. Hopper did authorize the third-party vendor to
      image Vanguard America’s Twitter accounts and Mr. Hopper’s Discord account, but
      Plaintiffs have not received any documents from those accounts. Additionally, while Mr.
      Hopper provided a cell phone to the vendor to be imaged, the phone he provided appears to
      have been factory reset and cannot be imaged, and he has thus far withheld a second phone
      entirely.



   Jeff Schoep – Defendant Schoep has not produced a single document to Plaintiffs.



   National Socialist Movement (NSM) – As detailed in Plaintiffs’ pending Motion to Compel
      Defendant National Socialist Movement to Disclose Custodians of Discoverable Documents
      and Information (ECF 547), Plaintiffs have not received any documents from NSM, nor has
      NSM identified accounts and devices of custodians of documents beyond Defendant Schoep.



   Matthew Heimbach – Plaintiffs have received a total of 16 documents from Defendant
     Heimbach, many of which have little to do with Charlottesville. To date, the third-party
     vendor cannot access content from the following electronic accounts belonging to Defendant
     Heimbach: Gab, Signal, Skype or the internal ticket system on the TWP website. Plaintiffs
     understand that the vendor has completed a collection of Defendant Heimbach’s email
     account and his cell phone, but Defendant Heimbach has not produced any documents from
     those collections. In any event, Defendant Heimbach conceded that the phone he provided
     the vendor contains no responsive content. Plaintiffs ascertained during Defendant
     Heimbach’s court-ordered deposition that multiple electronic devices that once contained
     responsive documents were destroyed or lost.



   Christopher Cantwell – Plaintiffs have received a partial production from Defendant Cantwell.
      However, the vendor has not been able to collect content from the following social media
      accounts and websites identified as containing relevant content because Defendant Cantwell
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      has not provided accurate credentials: Gab, Facebook, uStream, and certain Websites
      (christophercantwell.com, radicalagenda.com).



   Jason Kessler – Plaintiffs have received a partial production from Defendant Kessler. However,
      the vendor has been unable to collect content from the majority of Defendant Kessler’s social
      media accounts because he has not provided the vendor with correct account
      credentials. Plaintiffs are still seeking responsive content from the following accounts,
      identified as containing relevant content: Twitter (themaddimension@gmail.com), Email
      (jason@unityandsevurity.org), Facebook (ChedCheese, broadswordmcqueen), Gab
      (themaddimension), Instagram (Jason Kessler, themaddimension), Reddit (Darksighed,
      wahooserious), and VK.



   Nathan Damigo – Plaintiffs have received a partial production from Defendant
      Damigo. However, Defendant Damigo has not provided account credentials to the
      following accounts, identified as containing relevant content: Youtube, Slack, Facebook,
      Email (Nathan.damigo@identityevropa.com).



   Identity Evropa (IE) – Beyond Defendant Damigo’s partial production, IE has not produced
      any documents to Plaintiffs and continues to withhold account credentials from numerous
      social media accounts. On September 3, 2019, Mr. Kolenich indicated that Patrick Casey, a
      custodian of IE documents, would comply with Plaintiffs’ subpoena and discovery requests
      by September 5, 2019. To date, Plaintiffs have received no documents from Mr.
      Casey. (While Plaintiffs have obtained documents generated by Mr. Casey from third-party
      Discord, Mr. Casey appears to have shut down multiple Discord servers, so the production of
      Mr. Casey’s documents from Discord is undoubtedly incomplete.)



   Matthew Parrott – Plaintiffs have received a partial production from Defendant Parrott, but he
     continues to withhold information required by the vendor to recover content from various
     accounts identified as containing relevant content: Facebook (edruben1948@gmail.com,
     parrottmatt@gmail.com), Gab (@mattparrott, parrott.matt@gmail.com), Minds, and Signal.



   Michael Hill, Michael Tubbs and League of the South (LOS) – Plaintiffs have received
      partial productions from Defendants Hill and Tubbs, although each defendant identified
      multiple accounts with relevant content that still has not been collected by the vendor. For
      Defendant Hill, the following accounts have not been collected: Facebook (Michael Hill,
      League of the South, and Michael Hill ID: 1000027890145135), Twitter (Twitter
      @MickCollins1951; @51CeannCinnidh; @71Rhodie; @JamesHill120651; @BigChief1951;
      @Michaelhill51). For Defendant Tubbs the following accounts and account credentials
      remain outstanding: Proton Mail Account (LSCoC@protonmail.com) and Facebook (Mike
      Sable; Michael Tubbs).
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   Robert “Azzmador” Ray – Plaintiffs have received a partial production from Defendant Ray.
      However, Plaintiffs understand that Defendant Ray’s collection does not include any content
      from the following accounts, identified as containing relevant content: Gab, Krypto Report,
      Twitter, and the Daily Stormer website. Additionally, Defendant Ray claimed to have sent a
      second laptop to the third-party vendor sometime last spring, but the vendor never received
      any such device. Defendant Ray has reportedly stopped cooperating altogether.



   Traditionalist Worker Party (TWP) – Apart from Defendants Heimbach’s and Parrott’s
      deficient partial productions, TWP has not provided devices or working account credentials
      to the vendor. There are obvious custodians of critical TWP documents who have expressly
      chosen gamesmanship over cooperation. Tony Hovater, who signed discovery responses on
      behalf of TWP and generated material documents related to Unite the Right, initially
      indicated he would produce his documents after repeated inquiries by Plaintiffs. Then,
      inexplicably, on September 9, Mr. Kolenich informed Plaintiffs that Mr. Hovater “reversed
      himself and refuses to cooperate any further with discovery” and resigned from TWP. In
      addition to TWP’s failure to produce any documents from custodians other than Defendants
      Parrott and Heimbach, TWP continues to withhold other responsive content. TWP still has
      not produced documents from the following social media accounts: Gab, VK, “Tradworker”
      email accounts/ticket system, and Twitter. Plaintiffs are not aware of any steps taken by
      TWP to provide the third-party vendor with access to these accounts.



   Richard Spencer - Defendant Spencer has produced a large volume of documents, more than
      250,000. Plaintiffs understand that this collection does not include content from Defendant
      Spencer’s Facebook, Instagram and Twitter accounts. Based on an August 29, 2019 email
      from Mr. DiNucci, Plaintiffs understand that Defendant Spencer is working with the
      third-party vendor to produce content from these accounts.



   Pending Motions



      Plaintiffs additionally hope to discuss with Your Honor the status of the following pending
   motions:



      Plaintiffs’ Motion to Enjoin Defendant Cantwell from Making Unlawful Threats Against
          Plaintiffs and Plaintiffs’ Counsel (ECF No. 511, 523, 532, 546, 560, 561). Plaintiffs
          believe this motion is fully briefed, and we are not seeking a hearing on the matter. In
          light of apparent ongoing volatile comments and behavior from Mr. Cantwell, including,
          for example, his announcement on social media last week that he brought a gun to a
          movie theater (which attracted the attention of local law enforcement), Plaintiffs are
          eager for a resolution of this motion.
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        Plaintiffs’ Motion to Compel Defendant National Socialist Movement to Disclose Custodians
            of Discoverable Documents and Information (ECF No. 547). While the time to oppose
            this motion has expired, Mr. ReBrook recently indicated he may make Mr. Colluci
            available for a deposition, an apparent concession of one aspect of the relief sought by
            Plaintiffs. Plaintiffs would like to ascertain Mr. ReBrook’s position on the motion, so
            that we can move forward with Mr. Colluci’s deposition if appropriate.



        Plaintiffs’ Motion for Sanctions against Defendant Elliot Kline A/K/A Eli Mosley (ECF No.
            565). Defendant Kline’s time to respond to this motion has expired and Plaintiffs do not
            seek further hearing on this matter at this time.



   Respectfully submitted,



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